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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 LONE STAR TECHNOLOGICAL                          §
 INNOVATIONS, LLC,                                §
                                                  §    CIVIL ACTION NO. 6:19-CV-00059-RWS
                                                  §
                 Plaintiff,                       §
                                                  §
 v.                                               §
                                                  §
 ASUSTEK COMPUTER INC.,                           §
                                                  §
                 Defendant.                       §

                                              ORDER

      . Before the Court is the parties’ Joint Motion for Extension of Time to File the Joint Final

Pretrial Order, Joint Proposed Jury Instructions, Form of the Verdict, and Pretrial Objections

(Docket No. 177). Having considered the motion, and because it is agreed, the Court finds that the

motion should be and hereby is GRANTED. It is thus

         ORDERED that the deadline for the parties to file their Joint Final Pretrial Order, Joint

Proposed Jury Instructions, Form of the Verdict and Pretrial Objections is extended to April 27,

2021.


        So ORDERED and SIGNED this 21st day of April, 2021.




                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
